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EXHIBIT A
Case 1:18-cv-00690-WES-PAS Document 1-1 Filed 12/21/18 Page 2 of 19 PagelD #: 22

After Reo Raturn to:

Bs MORTGAGE CORE ~ post
SING

i RAMLAND RD

ORANGEBURG, NY 10962
Attn: {Equity Services)

a
WMC MORTGAGE CORP.

BAL GANCGA AVENUE LOTH HL

WOODLAND HILLS, CA 91367

 

{Space Above This Line For Recording Dataj

2, MORTGAGE
ee

A
Words used in multiple sections of this document are defined below and other are 3,11,
13, 18, 20 and 21. Certain rules regarding the usage of words used in this document are also provided in Section
16,
{A) “Security Instrument” means this document, which is dated June 9, 2005 together with

all Riders to this document.
(8) “Borrower” is RAYMOND C BRADBURY AND HEATHER A BRADBURY

 

B is the mortgagor under this Security 1

{C) “MERS” is Mortgage Electronic Registration Systems, Inc, MERS is a separate corporation that is acting
solely as a nominee for Lender and Lender's successors and assigns. MERS Is the morigagee under this
Security Instrament. MERS is organized and existing under the laws of Delaware, and has an address and
telephone number of P.O. Box 2026, Flint, MI 48501-2026, tel. (888) 679-MERS.

(D) “Lender? is WMC MORTGAGE CORD.

Lenderisa Corporation organized and existing under the laws of

CALXYFORNIA + Lender's address is P.O. BOX 54089 LOS
ANGELES, CA 90054-0089

) “Note” means the promissory note signed by Borrower and dated dune 9, 2005

The Note states a nn a ie eres
S.$ ) plus interest. Borrower has promised to pay this
debt in reguiar Peri Payments and to pay the debt in full not later than July 1, 2035

(8) “Pro ” means the property that is described below under the heading “Transfer of Rights in the
Property.”

(G) “Loan” means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due
under the Note, and all sums due under this Security Instrument, plus interest.

RHODE ISLAND—Single Family-—Fannle Mae/Freddie Mac UNIFORM INSTRUMENT Form 3040 1/01 (rev. 11402)
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all Riders to this Security 1 that are i by Bi The foll ing Riders
are to be executed by Borrower (check box as applicable}:
Adjustable Rate Rider (] Condominium Rider (2] Second Home Rider
Balloon Rider (Cj Planned Unit Development Rider (_] Biweekly Payment Rider
1-4 Family Rider {x} Other(s) [specify] Balloon Rider

1) “Applicable Law” means all controlling applicable federal, state and local Statutes, regulations, ordinances
and administrative, rules and orders (that have the effect of law) as well as all applicable final, non-appealable
judicial opinions.

(3) “Community Association Dues, Fees, and Assessments” means all dues, fees, assessments and other
charges that are imposed on Borrower or the Property by a dominii jation, h iation or
similar organization,

(K) “Electronic Funds Transfer” means gay transfer of funds, other than transaction originated by check,
draft, or similar paper instrument, which is initi through an electronic terminal, telephonic instrament,
Computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an account,
Such term includes, but is not limited to, point-of-sale 5 d teller machi ions, transfe
initiated by telephone, wire transfers, and automated clearinghouse transfers,
{L) “Escrow Items” means those items that are described in Section 3,

(M) “Miscellaneous Proceeds” means any p i ttl award of d or ds paid by any

third party (other than insurance proceeds paid under the coverages described in Section 5) for: (1) damage to, or

destruction of, the Property; (ii) condemnation; or other taking of all or any part of the Property; (iil) conveyance

in liew of cond: ion or (iv) misrep ions of, or omissions as to, the value and/or condition of, the “st
Pi

 

roperty. oa
(N) “Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or default on, the *
Loan.

(O) “Periodic Payment” means the regularly scheduled amount dus for (i) principal and interest under the Note, Sy ings
plus (i) any amounts under Section 3 of this Security tnstrument.

{P) “RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et 809.) and its implementing
regulation, Regulation X (24 CER. Part 3500), as they might be amended from time to time, or any additional or
successor legislation or regulation that governs the same Subject matter. As used in this Security Instrument,
“RESPA” refers to all requirements and restrictions that are imposed in regard to a “federally related mortgage
loan” even if the Loan does not qualify as a “federally related mortgage loan” under RESPA,

{Q) “Successor in Interest of Borrower” means any party that has taken title to the Property, whether or not that
party has assumed Borrower'siobligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

‘This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and
modifications of the Note; and (ii) the perf of B 's and agi under this Security
Instrument and the Note. For this purpose, Borrower does hereby mortgage, grant and convey to MERS (solely as

nominee for Lender and Lender's successors and assigns) and to the successors and assigns of MERS the
following described property located in the
COUNTY

of = KENT
(Type of Recording Jurisdiction) (Name of Recording Jurisdiction)
EEGAL DESCRIPTION ATTACHED HERS'TO AND MADE A PART HEREOF AND KNOWN AS
pe RES ce 3 i 2 oe ‘ “s %
ie t
which currently has the address of 61 LAFAYETTE street
[Street]
WEST WARWICK , Rhode Island 02693 (Property Address”),
(City) [Zip Code}
RHODE ISLAND—Single Family—Fannle Mue/Froddie Mac UNIFORM INSTRUMENT Form 3040 141 (rev. 11/02)
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SMA, 5:1 WITH ail the improvements now or hereafter erected on the property, and all easements,

and fixtures now or hereafter a part of the property. All replacements and additions shall also be
covered by this Security Instrument. All of the foregoing is referred to in thia Security Instrument ay the
“Property.” Borrower understands and agrees that MERS holds only legal title to the interests granted by
Borrower in this Security Instrument, but, if necessary to comply with law or custom, MERS (as nominee for
Lender and Lender's successors and assigns) has the right: to exercise any or all of those interests, inchiding, but
not limited to, the right to foreclose and sell the Property; and to take any action required of Lender including, but
not limited to, releasing and canceling this Security Instrument.

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the
right to mortgage, grant and convey the Property and that the Property is unencumbered, except for encumbrances
of record, Borrower warrants and will defend generally the title to the Property against al! claims and demands,
subject to any encumbrances of record,

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real

UNIFORM COVENANTS. B. and Lender and agree as follows:

4; Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges,
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment
charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section
3. Payments due under the Note and this Security Instrument shall be made in U.S, currency. However, if any
check or other instrument received by Lender as payment under the Note or this Security Instrument is returned to
Lender unpaid, Lender may require that any or all Subsequent payments due under the Note and this Security
Instrument be made in one or more of the following formas, as selected by Lender: (a) cash; (b) money order; (¢)
certified check, bank check, treasurer’s check or cashier’s check, provided any such check is drawn upon an
— whose deposits are insured by a federal agency, instrumentality, or entity; or (4) Electronic Funds
Transfer,

Payments are deemed received by Lender when received at the location designated in the Note or at such
other location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may
return any pay or partial p ifthe p or partial p are insufficient to bring the Loan
current. Lender may accept any payment or partial payment insufficient to bring the Loan current, without waiver
of any rights hereunder or prejudice to its rights to refuse such payment or partial payments in the future, but
Lender is not obligated to apply such payments at the time such payments are accepted. If each Periodic Payment
is applied as of its scheduled due date, then Lender need not pay interest on unapplied funds. Lender may hold
such unapplied fimds until Borrower makes payment to bring the Loan current. If Borrower does not do so within
a reasonable period of time, Lender shall either apply such funds or return them to Borrower. If not applied
earlier, such funds will be applied to the outstanding principal balance under the Note immediately prior to
foreciosure. No offset or claim which Borrower might have now or in the future against Lender shail relieve
Borrower from making payments due under the Note and this Security Instrument or performing the covenants
and agreements secured by this Security Instrament.

2. Applileation of Pay or P dis. Except as otherwise described in this Section 2, all
Payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under
the Note; (b) principal due under the Note; (c) amounts due under Section 3, Such payments shall be applied to
each Periodic Payment in the order in which it became due. Any remaining amounts shall be applied first to late
charges, second to any other amounts due under this Security Instrument, and then to reduce the principal balance
of the Note.

If Lender a pay B for a deling Periodic Payment which inchides a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and the late
charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received from
Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be paid in full,
Yo the extent that any excess exists after the payment is applied to the full payment of one or more Periodic

such excess may be applied to any late charges due, Voluntary prepayments shall be applied first to
any prepayment charges and then as described in the Note.

RHODE ISLAND—Single Family-—Fannle Mav/freddte Mac UNIFORM INSTRUMENT Form 3080 1/01 (rev. 11/0)
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Any application of payments, insurance proceeds, or Miscellancous i, due under the

Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on he day Periodic Payments are due
under the Note, until the Note is paid in full, a sum (the “Funds") to provide payment of amourits due for: (a)
taxes and assessments and other items which can attain priority over this Security Instrument as a fien or
encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums for
any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or any
sums payable by Borrower to Lender in lieu of the pay of Mortgage I premiums in di with
the provisions of Section 10. These items are called “Escrow Items.” At origination or at any time during the term
of the Loan, Lender may require that Community Association Dues, Fees, and Assessments, if any, be escrowed
by Borrower, and such dues, fees and assessments shall be an Escrow Item, Borrower shall promptly furnish to
Lender all notices of amounts to be paid under this Section. Borrower shall pay Lender the Funds for Escrow
items unless Lender waives Bo rrower's obligation to pay the Funds for any or all Escrow Items. Lender may
waive Borrower's obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver
may only be in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the
amounts due for any Escrow Items for which payment of Funds has b een waived by Lender and, if Lender
requires, shall furnish to Lender receipts evidencing such payment within such time period as Lender may require.
Borrower’s obligation to make such payments and to provide receipts shall for all purposes be deemed to be a

and agr ined in this Security 1 t, as the phrase “covenant and agreement” is used in
Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and Borrower fails to pay
the amount due for an Escrow Item, Lender may exercise its rights under Section 9 and pay such amount and
Borrower shall then be obligated under Section 9 to repay to Lender any such amount, Lender may revoke the
waiver a6 to any or all Escrow Items at any time by a notice given in accordance with Section 15 and, upon such
revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this
Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the
Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a leader can require under
RESPA. Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of
expenditures of future Escrow items or otherwise in accordance with Applicable Law,

‘The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality,
or entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home
Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA,
Lender shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or
verifying the Escrow Items, unless Lender p ays Bo trower interest on the Funds and Applicable Law permits
Lender to make such a charge. Uniess an agreement is made in writing or Applicable Law requires interest to be
paid on the Funds, Lender shall not be required to pay Borrower any interest or earnings on the Funds, Borrower
and Lender can agree in writing, however, that interest shall be paid on the Funds, Lender shall give to Borrower,
without charge, an annual sccounting of the Funds as required by RESPA.

Ifthere is a surplus of Funds held in escrow, as detined under RESPA, Lender shall account to Borrower
for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under
RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
hecessary to make up the shortage in accordance with RESPA, but in no more than 12 monthly payments. ff there
is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required by
RESPA, and Borrower shall pay to Lender the amount necessary to make up the deficiency in accordance with
RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
Borrower any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments or ground
rents on the Property, if'any, and Community Association Dues, Fees, and Assessments, if any. To the extent that
these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.

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— shall promptly discharge any lien which has priority over this ment unless

Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
Lender, but only so long as B is performing such agr t; (6) the lien in good faith by, or
defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent the
enforcement of the lien while those proceedings are pending, but only until such proceedings are concluded; or (c)
secures from the holder of the lien an agreement satisfactory to Lender subordinating the lien to this Security
Instrument. If Lender determines that any part of the Property is subject to a lien which can attain priority over
this Security Instrument, Lender may give Borrower a notice identifying the lien, Within 10 days of the date on
which that notice is given, Borrower shall satisfy the lien or take one or more of the actions set forth above in this
Section 4,

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
service used by Lender in connection with this Loan,

$s, Property Insurance. Borrower shall keep the improvements now existing or hereafter erected
on the Property insured against loss by fire, hazards included within the term “extended coverage,” and any other
hazards including, but not limited to, earthquakes and floods, for which Lender requires insurance, This insurance
shall be maintained in the amounts (including deductible levels) and for the periods that Lender requires. What
Lender requires pursuant to the preceding sentences can change during the term of the Loan. The insurance carrier
providing the insurance shall be chosen by Borrower subject to Lender’s right to disapprove Borrower's choice,
which right shall not be exercised unreasonably. Lender may require Borrower to pay, in connection with this
Loan, either: (a) a one-time charge for flood zone determination, certification and tracking services; or (b) 4 one«
time charge for flood zone determination and certification services and subsequent charges each time remappings
or similar changes occur which reasonably might affect suc h determination or certification. Borrower shall also be
responsible for the payment of any fees imposed by the Federal Emergency Management Agency in connection
with the review of any flood zone determination resulting from an objection by Borrower,

if Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any particular
type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might not protect
Borrower, Borrower’s equity in the Property, or the contents of the Property, against any risk, hazard or liability

 

 

and might provide greater or lesser ge than was p ly in effect, Bi diges that the cost
of the i ge so Obtained might signi ly exceed the cost of insurance that Borrower could have
obtained, Any amounts dis! by Lender under this Section 5 shall become additional debt of Borrower

d by this Security 1 These shall bear interest at the Note rate from the date of

 

disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender’s right
to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgages and/or
as an additional loss payee. Lender shall have the right to hold the policies and renewal certificates. If Lender
requires, Borrower shall promptly give to Lender all ipts of paid premiums and i notices, If B
obtains any form of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the
Property, such policy shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an
additional loss payee.

in the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing,
any insurance proceeds, whether or not the underlying insurance was required by Lender, shall be applied to
restoration or repair of the Property, if the ion or repair is ically feasible and Lender's security is
not lessened. During such repair and restoration period, Lender shall have the right to hold such insurance
proceeds until Lender has had an opportunity to inspect such Property to ensure the work has been completed to
Lender’s faction, provided that such inspection shall be undertaken promptly Lender may disburse proceeds
for the repairs and restoration in a single payment or in a series of progress payments as the work is completed.

: Unless an agreement is made in writing or Applicable Law requires interest to be paid on such insurance

proceeds, Lender shall not be required to pay Borrower any interest or earnings on such proceeds, Fees for public
adjusters, or other third parties, retained by Borrower shall not be paid out of the insurance proceeds and shall be
the s ole obligation of Borrower. 1f the restoration or repair is not economically feasible or Lender's s ecurity

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- 5 i : the insurance proceeds shall be applied to the sums seure Instrument,

whether or not then due, with the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the
order provided for in Section 2,

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim
and related matters, If Borrower does not respond within 30 days to a notice from Lender that the insurance
carrier bas offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will begin
when the notice is given. Incithere vent, or if Lender acquires the Property under Section 22 or otherwise,
Borrower hereby assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed
the amounts unpaid under the Note or this Security Instrument, and (b) any other of Borrower’ 8 rights (other than
the right to any refund of d paid by Bi ‘) under all i
Property, insofar as such rights are applicable to the coverage of the Property, Lender may use the i insurance
proceeds either to repair or restore the Property or to pay amounts unpaid under the Note or this Security
Bees whether or not then due.

Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's Lee
nase within 60 days after the execution of this Security Instrument and shall continue to occupy the Property
as Borrower’s principal residence for at least one year after the date of occupancy, unless Lender otherwise agrees
in writing, which consent shall not be unreasonably withheld, or unless extenuating circumstances exist which are
beyond Borrower's control.

4. Preservation, Maintenance and Protection of the Property; Inspections, Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste onthe Property.
Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the
Property from deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to Section
5 that repair or restoration is not economically —. Borrower shail promptly repair the Property if damaged to

 

avoid further deterioration or d: if is ds are paid in ion with damage
to, or the taking of, the Property, Borrower shall be responsible for repairing of restoring the Property only if
Lender has released ds for such purp Lender may di ds for the repairs and restoration ina

 

single payment or in a series of progress payments as the work is completed. If the insurance or condemnation
proceeds are not sufficient to repair or restore the Property, Borrower is not relieved of Borrower's obligation for
the completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property, If it has
reasonable cause, Lender may inspect the interior of the improvements on the Property, Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause,

8. Borrower’s Loan Application. Borrower shail be in default if, during the Loan application
process, Borrower or any persons or entities acting at the di direction of B or with B
consent gave ially false, or ion or to Lender (or failed to provide
Lender with material “information) in conection with the Loan, Material fepresentations include, but are not
limited to, representations concerning Borrower's occupancy of the Property as Borrower's principal residence.

Protection of Lender’s Interest in the Property and Rights Under this Security
Instrament. if (a) Borrower fails to perform the and ined in this i
{b) there is a legal proceeding that might ey affect Lender’s eo in the Property and/or rights under
this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or regulations), or
(c) Borrower has abandoned the Property, then Lender may do and pay for whatever is reasonable or appropriate
to protect Lender’s interest in the Property and rights under this Security Instrument, including protecting and/or
asseasing the value of the Property, and securing and/or repairing the Property. Lender’s actions can include, but
are not limited to: (a) paying any sums secured by a lien which has priority over this Security Instrument; (6)
sneasing in court; and () paying 1 oe attomeys" fees to protect its interest in the Property we rights
ition in a bank ding. Securing the Property
aaa — is not limited eee te Prope to make repairs, change dicks: Fenians or bound ao dears end
windows, drain water from pipes, eliminate building or other code violations or dangerous conditions, and have
utilities tamed on or off. Although Lender may take action under this Section 9, Lender does not have to do so
and is not under any duty or obligation to do go. It is agreed that Lender incuss no liability for not taking any or all
actions authorized under this Section 9.

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amounts disbursed by Lender under this Section 9 shall become pm, debt of Borrower secured
by this Security Instrument, These amounts shall bear interest at the Note rate from the date of disbursement and
shall be payable, with such interest, upon notice from Lender to Borrower requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease,
Borrower shall not surrender the leasehold estate and interests herein conveyed or terminate or cancel the ground
lease. Borrower shall not, without the express written consent of Lender, alter or amend the ground lease, If
raheem seer ay title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to
the merger ng.

10. Mortgage Insurance. If Lender required M ortgage Insurance as a condition of making the
Loan, Borrower shail pay the premiums required to maintain the Mortgage Insurance in effect, If, for any reason,
the Mortgage Insurance coverage required by Lender ceases to be available fom the mortgage insurer that
previously provided such i and Bi was required to make ly desi d pay toward
the premiums for Mortgage 1 ,B shall pay the premi quired to obtain coverage substantially
equivalent to the Mortgage Insurance previously in effect, at a cost substantially equivalent to the cost to
Borrower of the Mo: Insurance previously in effect, from an alternate mortgage insurer selected by Lender,
If substantially equivalent Mortgage I ge is not available, B shall continue to pay to Lender
the amount of the separately designated payments that were due when the insurance coverage ceased to be in
effect, Lender will accept, use and retain these payments as a non-refundable loss reserve in lieu of Mortgage
Insurance, Such loss reserve shall be non-refundable, notwithstanding the fact that the Loan is ultimately paid in
full, and Lender shall not be required to pay Borrower any interest or earnings on such loss reserve. Lender can no
longer require loss reserve payments if Mortgage Insurance coverage (inthe amount and for the period that
Lender requires) provided by an insurer selected by Lender again becomes available, is obtained, and Lender
requires separately designated payments toward the premiums for Mortgage Insurance. If Lender required
Mortgage Insurance as a condition of making the Loan and B was required to make sep ly desi d
Payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to maintain
Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until Lender's tequirement for
Mortgage Insurance ends in accordance with any written agreement between Borrower and Lender providing for
such ination or until ination is required by Applicabl Law. Nothing in this Section 10 affects Borrower’s
obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
incur if Borrower does not repay the Loan as agreed. Borrower is nota party to the Mortgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter
into agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms
and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these agreements,
These agreements may require the mortgage insurer to make payments using any source of funds that the
mortgage insurer may have available (which may include funds obtained from Mortgage Insurance premiums),

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any
other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from
{or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing
or modifying the mortgage insurer's risk, or reducing losses. If such agreement provides that an affiliate of Lender
takes a share of the insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is
often termed “captive reinsurance,” Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
insurance, or any other terms of the Loan. Such agreements will not increase the amount Borrower will
owe for Mortgage Insurance, and they will not entitle Borrower to any refund.

(b) Any such agreements will not affect the rights Borrower has ~ if any — with respect to the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may
include the right to receive certain disclosures, to request and obtain cancellation of the Mortgage
Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a refund of any
Mortgage Insurance premiums that were unearned at the time of such cancellation or termination,

il, Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
assigned to and shall be paid to Lender.

RHODE ISLAND—Single Pamily-—~Faanle Maw/Preddie Mac UNIFORM INSTRUMENT. form 3040 1/01 (rev. 11/02)

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offs P. Property is damaged, such Miscellaneous Proceeds shall be applied Ss or repair of the

Property, if the restoration or repair is economically feasible and Lender’s seourity is not lessened. During such
repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has
had an opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction,
provided that such inspection shall be undertaken promptly, Lender may pay for the repairs and restoration in a
single disbursement or in a series of progress payments as the work is completed. Unless an agreement is made in
writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall not be
required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is
not economically feasible or Lender's security would be lessened, the Miscellaneous Proceeds shal) be applied to
the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.
Such Miscellaneous Proceeds shall be applied in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds
shall be applied to the sums secured by this Seourity Instrument, whether or not then due, with the excess, if any,
paid to Borrower.

In the event ofa partial taking, destruction, or loss in value of the Property in which the fair market value
of the Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the
amount of the sums secured by this Security Instrument intmediately before the partial taking, destruction, or loss
in value, unless Borrower and Lender otherwise agree in writing, the sums secured by this Security Instrument
shall be reduced by the amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the total
amount of the sums secured immediately before the partial taking, destruction, or loss in value divided by (b) the
fair market value of the Property immediately before the partial taking, destruction, or loss in value, Any balance
shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value
of the Property immediately before the partial taking, destruction, or loss in value is less than the amount of the
sums secured immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender
otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured by this S ccurity
Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing
Party (as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to
respond to Lender within 30 days after the date the notice is given, Lender is authorized to collect and apply the
Miscellaneous P roceeds cither to restoration or repair of the Property or to the sums secured by this Security
Instrument, whether or not then duc, “Opposing Party” means the third party that owes Borrower Miscellaneous
Proceeds or the party against whom Borrower has a right of action in regard to Miscellaneous Proceeds.

Borrower shall be in d fault if any action or proceeding, whether civil or criminal, is begun that, in Lender's
judgment, could result in forfeiture of the Property or other material impairment of Lender's interest in the
Property or rights under this Security Instrument. Borrower can cure such a default and, if acceleration has
occurred, reinstate as provided in Section 19, by causing the action or proceeding to be dismissed with a ruling
that, in Lender's judgment, precludes forfeiture of the Property or other material impairment of Lender's interest
in the Property or rights under this Security Instrument, The proceeds of any award or claim for damages that are
attributable to the impairment of Lender's interest in the Property are hereby assigned and shall be paid to Lender.

All Miscellancous Proceeds that are not applied to restoration or repair of the Property shall be applied in
the order provided for in Section 2.

12%, Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
payment or modification of amortization of the sums secured by this Security Instrument granted by Lender to
Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower or any
Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any Successor
in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization of the sums
secured by this Security Instrument by reason of any demand made by the original Borrower or any Successors in
Interest of Borrower, Any forbearance by Lender in exercising any right or remedy including, without limitation,
Lender's acceptance of payments from third persons, entities or Successors in Interest of Borrower or in amounts
less than the amount then due, shall not be a waiver of or preclude the exercise of any right or remedy,

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aay Joint and Several Liability; Co-signers; Successors and sgn covenants

and agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who co-
signs this Security Instrument but does not execute the Note {a “co-signer”): (a) is co-signing this Security
Instrument only to mortgage, grant and convey the co-signer’s interest in the Property under the terms of this
Security 1 t; (b) is not p lly obligat i to pay the sums secured by this Security Instrument; and (¢)
agrees that Lender and any other Borrower can agree to extend, modify, forbear or make any accommodations
with regard to the terms of this Security Instrument or the Note without the co-signer’s consent,

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security Instrument in writing, and is approved by Lander, shall obtain all of Borrower's
rights and benefits under this Security Instrument. Borrower shall not be released from Borrower's obligations
and Hability under this Security Instrument unless Lender agrees to such release in writing, The covenants and
agreements of this Security Instrument shall bind (except a8 provided in Section 20) and benefit the successors

id, Loan Charges, Lender may charge Borrower fees for services performed in connection with
Borrower's default, for the purpose of protecting Lender’s interest in the Property and rights under this Security
Instrament, including, but not limited to, attomeys’ fees, property inspection and valuation fees, In regard to any
other fees, the absence of express authority in this Security Instrument to charge @ specific fee to Borrower shail
hot be construed as a prohibition on the charging of such fee, Lender muy not charge fees that are expressly
prohibited by this Security Instrument or by Applicable Law.

if the Loan is subject to a Jaw which sets maximum loan charges, and that law is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted limits, then: (a) any such loan charge shail be reduced by the amount necessary to reduce the charge to

which ded permitted limits will be
refunded to Borrower, Lender may choose to make this refund by reducing the principal owed under the Note or
by making a direct payment to Borrower, Ifa refund reduces principal, the reduction. will be treated as & partial
prepayment without any prepayment charge (whether or not a prepayment charge is provided for under the Note),
Borrower's acceptance of any such refund made by direct payment to Borrower will constitute a waiver of any
right of action Borrower might have arising out of such overcharge,

15, Notices, Ail notices given by B of Lender in jon with this Security h
must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to have
boen given to Borrower when mailed by first class mail or when actually delivered to Borrower's notice address if
sent by other means. Notice to any one Borrower shall constitute hotive to all Borrowers unless Applicable Law
expressly requires otherwise. The notice address shall be the Property Address unless Borrower has designated a
substitute notice address by notive to Lender. Borrower shall promptly notify Lender of Borrower's change of
address. If Lender specifies 8 procedure for reporting Borrower's change of address, then Borrower shall only
‘sport a change of address through that specified procedure. There may be only one designated notice address
under this Security Instrument at any one time, Any notice to Lender shall be given by delivering it or by roailing
it by first class mail to Lender's address stated herein unless Lender has designated another address by notice to

» Any notice in connection with this Security Instrument shall not be deemed to have been given to

 

Lender until actually received by Lender, If any notice quired by this S ty is also required under
Applicable Law, the Applicable Law requirement will satisfy the corresponding requirement under this Security
Instrument.

16, Governing Law; Severability; Rules of Co nstruction, This Seourity instrument shall be
governed by federal law and the law of the jurisdiction in which the Property is located, All rights and obligations
contained in this Security Instrument are subject to any requirements and limitations of Applicable Law,
Applicable Law might explicitly or implicitly allow the parties to agree by contract or it might be silent, but such
silence shall not be d as a prohibition against i by In the event that any provision or
clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other

words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice versa;
and (c) the word “may” gives sole discretion without any obligation to take any action,

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17. Borrower's Copy. Borrower shall be given one copy of nO. this Security
Tpstrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
“Interest in the Property” means any legal or beneficial interest in the Property, including, but not limited to, those
beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or escrow
agreement, the intent of which is the transfer of title by Borrower at a future date to a er,

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is
not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior written
consent, Lender may require immediate payment in full of all sums secured by this Security Instrument. However,
this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shal}
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15 within
which Borrower must pay ali sums secured by this Security Instrument, If Borrower fails to pay these sums prior
to the expiration of this period, Lender may invoke any remedies permitted by this Security Instrument without
further notice or demand on Borrower,

19, Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions,
Borrower shail have the right to have enforcement of this Security Instrument discontinued at any time prior to the
earliest off (a) five days before sale of the Property pursuant to any power of sale contained in this Security
Instrument; (b) such other period as Applicable Law might s pecify for the termination of Borrower's right to
reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those conditions are that Borrower: (a)
pays Lender all sums which then would be due under this Security Instrument and the Note as if no acceleration
had occurred; (b) cures any default of any o ther covenants or agreements; (c) pays all expenses incurred in
enforcing this Security Iastrument, including, but not limited to, reasonable attorneys’ fees, property inspection
and valuation fees, and other fees incurred for the purpose of protecting Lender's interest in the Property and
rights under this Security Instrument; and (d) takes such action as Lender may reasonably require to assure that
Lender's interest in the Property and rights under this Security Instrument, and Borrower's obligation to pay the
sums d by this shall hanged. Lender may require that Borrower pay such
reinstatement sums and expenses in one or more of the following forms, as selected by Lender: (a) cash; (b)
money order; (c) certified check, bank check, treasurer's check or cashier's check, provided any such check is
drawn uponan institution whose deposits are insured by a federal agency, instrumentality or entity; or (d)
Electronic Funds Transfer. Upon by B , this S 1 and secured
hereby shall remain fully effective as if no aceeleration had occurred, However, this right to reinstate shall not
apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in
the Note (together with this Security Instrument) can be sold one or mors times without prior notice to Borrower.
A sale might result in a change in the entity (known as the “Loan Servicer”) that collects Periodic Payments due
under the Note and this Security Instrument and performs other mortgage loan servicing obligations under the
Note, this Security Instrument, and Applicable Law, There also might be one or more changes of the Loan
Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer, Borrower will be given written
notice of the change which will state the name and address of the new Loan Servicer, the address to which
payments should be made and any other information RESPA requires in connection with a notice of transier of
servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer other than the purchaser of the
Note, the mortgage loan servicing obligations to Borrower will remain with the Loan Servicer or be transferred to
a successor Loan Servicer and are not assumed by the Note purchaser unless otherwise provided by the Note

uurchaser,
: Neither Bo rrower nor Lender may commence, join, or be joined to any judicial action (as ¢ ither an
individual litigant or the member of a class) that arises from the other party's actions pursuant to this Security
Instrument or that alleges that the other party has breached any provision of, or any duty owed by reason of, this
Security Instrument, until such Borrower or Lender has notified the other party (with such notice given in
compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto a
reasonable period after the giving of such notice to take corrective action, If Applicable Law provides a time
period which must elapse before certain action can be taken, that time period will be deemed to be reasonable for

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a this paragraph. The notice of acceleration and opportunity to cure —. pursuant to

Section 22 and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to satisfy the
notice and opportunity to take corrective action provisions of this Section 20.

21. Hazardous Substances, As used in this Section 21; (a) “Hazardous Substances” are those
substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
following substances: gasoline, kerosene, other flammable . apie petroleum ont toxic pesticides and
herbicides, volatile solvents, 3 (b)
“Environmental Law" means federal laws and laws of the jurisdiction where the Peay it is located that relate to
health, safety or environmental protection; (c) “Environmental Cleanup” includes any response action, remedial
action, of removal action, as defined in Environmental Law; and (d) an “Environmental Condition” means a
condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release o f any Hazardous
Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor
allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental Law, (b)
which creates an Environmental Condition, or (c) which, due to the presence, use, or release of « Hazardous
Substance, creates a condition that adversely affects the value of the Property. The preceding two sentences shall
not apply to the Presence, use, or storage on the Property of small quantities of Hazardous Substances that are

d to be appropriate to normal residential uses and to mai of the Property (including, but not
limited to, hazardous substances in consumer products),

Borrower shall promptly give Leader written notice of (a) any investigation, claim, demand, lawsuit or other
uetion by any governmental or regulatory agency or private party lnvolving ¢ the 2 Property ae any Hazardous Substance
or Environmental Law of which B has actual k ledge, (b) any including but not
limited to, any spilling, leaking, discharge, release or threat of iaisane of any Naas Substance, and (c) any
condition caused by the presence, use or release of a Hazardous Substance which adversely affects the value of the
Property. If Borrower learns, or is notified by any governmental or regulatory authority, or any private party, that any
removal or other remediation of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly
take all

it i actions in di with Envi } Law. Nothing herein shall create any obligation
on Lender for an Environmental Cleanup.

NON-UNIFORM COVENANTS, Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower’s breach of any covenant or agreement in this Secarity Instrument (out not prior to acceleration under
Section 18 unless Applicable Law provides otherwise), The notice shall specify: (a) the default; (b) the action
required to cure the default; (c) a date, not fess than 30 days from the date the notice is given to Borrower, by
which the defauit must be cured; and (d) that failure to cure the default on or before the date specified in the
notice may result in acceleration of the sums secured by this Security Instrument and sule of the Property. The
notice shall further inform Borrower of the right to reinstate after acceleration and the right to bring a court
action to assert the non-existence of a default or any other defense of Borrower to acceleration and sule. If the
defanit is not cured on or before the date specified in the notice, Lender at its option may require immediate
payment in full of all sums secured by this Security Instrument without further demand and may invoke the
STATUTORY POWER OF SALE and any other remedies p ermitted by Applicable L aw. Lender s hall be
entitied to collect alt din the di d in this Section 22, including, but not
limited to, reasonable attorneys’ fees and costs of title evidence.

If Lender invokes the STATUTORY POWER OF SALE, Lender shall mail a copy of 2 notice of sale to
Borrower as provided in Section 15. Lender shall publish the notice of sale, and the Property shall be sold In the
manner prescribed by Applicable Law. Lender or its designee may purchase the Property at any sale. The
proceeds of the sale shall be applied in the following order: (a) to all expenses of the sale, including, but not
limited to, reasonable attornuys’ fees; (b) to all sums secured by this Security Instrament; and (c) any excess to
the person or persons legally entitled to it.

23, Release, Upon payment of all sums secured by this Security Instrument, this Security Instrument
shall become null and void. Lender shall discharge this Security Instrument. Borrower shall pay any recordation costs.
Lender may charge B @ fee for rel ig this Si iy t, but only if the fee is paid to a third party for
services rendered and the charging of the fee is permitted under Appli Law.

RHODE ISLAND—Single Fumily-—Fanale Mue/Freddle Mac UNIFORM INSTRUMENT

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warrants to Lender that sither (a) there is no outstanding automatic order under Chapter 15-5 of the Rhode Island
General Laws against any Borrower relating to a laint for dissolution of iage, legal i i
custody or visitation or (6) there is an outstanding automatic order under Chapter 15-5 of the Rhode Island General
Laws against a Borrower relating to « complaint for dissolution of marriage, legal separation, annulment, custody or
visitation, and the other party that is subject to such order has consented to, or the court which issued the automatic
order has issued another order authorizing, such Borrower's execution of the Note and this Security Instrument,

25. Hi d Estate. if B h fore has acquired or hereafter acquires an estate of homestead
in the Property, Borrower hereby agrees that such homestead estate is waived to the extent of this Security Instrament
and the amount due under the Note and to the extent of all renewals, extensions and modifications of this Security
Instrument or the Note, and that said homestead estate is subject to all of the rights of Lender under this Security
Instrument and the Note and all renewals, extensions and modifications of this Security Instrument and the Note, and is
subordinate to the lien evidenced by this Security I t, and all i ions and modifications of this
Security Instrument, Furthermore, Borrower hereby waives the benefits of any homestead or similar laws or regulations
that may otherwise be applicable from time to time.

BY SIGNING BELOW, Bo rrower accepts and agrees to the terms and covenants contained in this

Instrument and in any Rider executed by Borrower and recorded with it,

 

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Commission Expires: NOTARY PUBLIC
a RONALD A. WARR,
MY COMMISSION EXPIRES

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ADJUSTABLE RATE RIDER
(6Month LIBOR Index - Rate Caps)
(First Business Day of Preceding Month Lookback

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THIS ADSUSTABLE RATE RIDER is made this 9th dayof June, 200:
and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or Security
Deed (the “Security Instrument’) of the same date given by the undersigned (the “ Borrower”) to secure the
Borrower's Adjustable Rate Note (the “Note”) to WMC MORTGAGE CORP.

ee “Lender’) of the same date and covering the property described in the Security Instrument and located at:
1 LAFAYETTE STREET, WEST WARWICK, RI 02893

{Property Address}

THE NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN THE
INTEREST RATE AND THE MONTHLY PAYMENT. THE NOTE LIMITS THE
AMOUNT THE BORROWER'S INTEREST RATE CAN CHANGE AT ANY ONE
TIME AND THE MAXIMUM RATE THE BORROWER MUST PAY.

ADDITIONAL COVENANTS. In addition to the covenants and agreements made in the Security
Instnunent, Borrower and Lender further covenant and agree as follows:

A, INTEREST RATE AND MONTHLY PAYMENT CHANGES

‘The Note provides for an initial interest rate of 5.950  %. The Note provides for
changes in the interest rate and the monthly payments, as follows:
4 INTEREST RATE AND MONTHLY PAYMENT CHANGES

{A} Change Dates

The interest rate I will pay may change on the first day of July, 2007
and may change on that dayevery 6th month thereafter. Each date on which my interest rate
could change is called a “Change Date.”

MULTISTATE ADJUSTABLE RATE RIDER 6-Month LIBOR Index (First Business Day Lookback}-Single Family~
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The Index Cae

Beginning with the first Change Date, my interest rate will be based on an index. The “Index”
is the six month London Interbank Offered Rate (*LIBOR”) which is the average of interbank offered
rates for six-month U.S, dollardenominated deposits in the London market, as published in The Wall
Street Journal. The most recent Index figure available as of the first business day of the month
immediately preceding the month in which the Change Date occurs is called the “Current Index.”

If the Index is no longer available, the Note Holder will choose a new index which is based
upon comparable information. The Note Holder will give me notice of this choice.

(C) Calculation of Changes

Before each Change Date, the Note Holder will calculate my new interest rate by adding
Six percentage point(s)
{ 6.006 %) to the Current Index. ‘The Note Holder will then round the result of this addition to
the nearest one-cighth of one percentage point (0.125%). Subject to the limits stated in Section 4(D)
below, this rounded amount will be my new interest rate until the next Change Date.

The Note Holder will then determine the amount of the monthly payment that would be
sufficient to repay the unpaid principal that I am expected to owe at the Change Date in full on the
maturity date at my new interest rate in substantially equal payments. The result of this calculation will
be the new amount of my monthly payment.

@®) Limits on Interest Rate Changes

‘The interest rate I am required to pay at the first Change Date will not be greater than
8.950 %“orlessthan $.950 %. Thereafter, my interest rate will never be increased or decreased
on any single Change Date by more than One
percentage point(s) ( 1.000 %) from the rate of interest I have been paying for the preceding
6 months, My interest rate will never be greater than 12.450 %, orlessthan 5.950 %,

(B) Effective Date of Changes

ws as) My new interest rate will become effective on each Chan th: Bait Bay t of my
new monthly payment beginning on the first monthly payment difte after the Change Date until the
amount of my monthly payment changes again.

®) Notice of Changes

The Note Holder will deliver or mail to me a notice of any changes in my interest rate and the
amount of my monthly payment before the effective date of any change, The notice will include
information required by law to be given to me and also the title and telephone number of a person who
will answer any question I may have regarding the notice.

B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER

Section 18 of the Seourity Instrument is amended to read as follows:

Transfer of the Property or a Beneficial Interest in Borrower, As used in
this Section 18, “Interest in the Property” means any legal or beneficial interest in the
Property, including, but not limited to, those beneficial interests transferred in a bond for
deed, contract for deed, installment sales contract or escrow agreement, the in tent of
which is the transfer of title by Borrower at a future date to 2 purchaser.

If all or any part of the Property or any Interest in the Property is sold or
transferred (or if Borrower is not 4 natural person and a beneficial interest in Borrower is
sold or transferred) without Lender’s prior written consent, Lender may require
immediate payment in full of all sums secured by this Security Instrument. However, this
option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.

IfLender exercises the option to require im mediate payment in full, Lender
shall give Borrower notice of acceleration, The notice shall provide a period of not less
than 30 days from the date the notice is given in accordance with Section 15 within

MULTISTATE ADJUSTABLE RATE RIDER 6-Month LIBOR Index (first Business Day Lookback)-Single Family

 
Case 1:18-cv-00690-WES-PAS Document 1-1 Filed 12/21/18

eee which Borrower must pay all sums secured by this Security ns a orrower fails

to pay these sumis prior to the expiration of this period, Lender may invoke any remedies
permitted by this Security Instrument without further notice or demand on Borrower,

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Adjustable

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MULTISTATE ADJUSTABLE RATE RIDER 6-Month LIBOR index (First Business Day Lookbatk)-Singie Family~

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THIS BALLOON RIDER is made this 9th dayof June, 2005 , and is incorporated into
and shail be deemed to amend and supplement the Mortgage, Deed of Trust or Security Deed (the “Security

Instrument’) of the same date given by the undersigned (‘Borrower’) to secure Borrower's Note (the “Note”) to
WMC MORTGAGE CORP.

(the “Lender”) of the same date and covering the property described in the Security Instrument and located at:
61 LARPAYEITY STREET WEST WARWICK, RI 02893

{Property Address]

‘The interest rate stated on the Note is called the “Note Rate”, The date of the Note is called the “Note Date”.
LT understand the Lender may transfer the Note, Security Instrument and this Rider. The Lender or anyone who
takes the Note, the Security Instrument and this Rider by transfer and who is entitled to receive payments under
the Note is called the “Note Holder”.

 

 

ADDITIONAL COVENANTS. In addition to the and agr in the Security i .
Borrower and Lender further covenant and agree as follows (despite anything to the contrary contained in the
Security Instrument or the Note):

‘THIS LOAN IS PAYABLE IN FULL AT MATURITY. YOU MUST REPAY THE ENTIRE PRINCIPAL
BALANCE OF THE LOAN AND UNPAID INTEREST THEN DUE. THE LENDER IS UNDER NO
OBLIGATION TO REFINANCE THE LOAN AT THAT TIME. YOU WILL, THEREFORE, BE
REQUIRED TO MAKE PAYMENT OUT OF OTHER ASSETS THAT YOU MAY OWN, OR YOU
WILL HAVE TO FIND A LENDER, WHICH MAY BE THE LENDER YOU HAVE THIS LOAN WITH,
WILLING TO LEND YOU THE MONKY. I YOU REFINANCE THIS LOAN AT MATURITY, YOU
MAY HAVE TO PAY SOME OR ALL OF THE CLOSING COSTS NORMALLY ASSOCIATED WITH
A NEW LOAN EVEN If YOU OBTAIN REFINANCING FROM THE SAME LENDER.

BALLOON RIDER-MULTISTATE (1/97) A
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EXHIBIT A - LEGAL DESCRIPTION

That certain tract or parcel of land with all improvements thereon, located on Lafayette Street in the Town of
West Warwick, Rhode Island, the same being more specifically described as follows:

PARCEL I:

Beginning at a point on the easterly line of Lafayette Street, which said point is the northwesterly comer
of the parcel herein conveyed and the southwesterly comer of Lot #57 as shown on that certain recorded plat
entitled “Central park Terrace by Frank E, Waterman, March 1904 scale 80 ft. per inch” which said recorded
plat is recorded at Book 5, page 45 of the Land Evidence Records of the City of Warwick, Rhode Island and
copied on Card #164 of the Land Evidence Records of the Town of West Warwick, Rhode Island; thence
running southwesterly bounded westerly by the easterly line of Lafayette Street twenty-five (25) feet; thence
turning and running easterly on a line twenty-five (25) feet from and parallel to the southerly line of aforesaid
Lot #57 to the westerly line of Lot #28 as shown on said recorded plat; thence turning and running northeasterly
bounded easterly by the westerly line of said Lot # 28 for a distance of twenty-five (25) feet; thence tuming and
running northwesterly bounded northeasterly by the southerly line of aforesaid Lot #57.

Meaning and intending to convey and herewith conveying the northerly twenty-five (25) feet by the
entire depth of said Lot #56 as shown on aforesaid Central Park Terrace Plat.

PARCEL i:

Those two certain lots or parcel of land with any improvements thereon, situated in the Town of West
Warwick, Rhode Island, laid out and designated as lots fifty-seven (57) and fifty-eight (58) on Plan of Central
Park Terrace, made by Frank Waterman, C.E. dated March, 1904, which plat is recorded in the Land Records of
the City of Warwick, Rhode Island in Plat Book 4, page 45.

Stewart Tithe Guaranty Company

 

 
